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Examining Equity in Remote Learning
Plans: A Content Analysis of State                                           /3 Y
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   Examining Equity in Remote Learning Plans: A Content Analysis of
                    State Responses to COVID-19

                                    John Wachen and Mark Johnson
                                        The Learning Partnership


                                                  Abstract
In this technical report, the authors present a content analysis of state guidance on remote learning from the
2019-20 school year. As schools across the country closed in response to COVID-19, state education
agencies (SEAs) developed guidance for use by districts on how to ensure the continuation of education
during the pandemic. The described analysis applied an equity framework that was developed based on
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concepts drawn from a literature review to examine the extent to which SEAs addressed issues of equity in
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their remote learning recommendations. The analysis revealed variation in the extent to which states




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explicitly focused on equity in their guidance. The analysis also identified exemplar states that encouraged
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local educators to keep equity at the forefront of their planning.
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                                              Introduction
School closures due to COVID-19 impacted over 55 million students across the nation in the spring of
2020. All states and territories closed schools for extensive periods of time between March and June, with
most eventually closing for the remainder of the 2019-20 school year. State education agencies (SEAs)
responded to the rapid closure of school systems by issuing guidance to districts on how to continue to
provide educational and social services to students during the pandemic. This guidance included
recommendations for implementing remote learning as well as strategies for addressing technology and
connectivity issues. At the same time, education researchers and policy organizations published articles
and policy briefs highlighting the need to attend to equity when designing remote learning experiences for
students (Dreesen et al., 2020; Kirkland, 2020; Morgan, 2020). In one such report published by the
Education Trust and Digital Promise (2020), the following statement was provided regarding the
importance of focusing on equity issues when planning for remote learning during school closures:
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        Students of color, students from low-income backgrounds, English learners, students with
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        disabilities, and other vulnerable groups such as homeless students and students in foster care,
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        were less likely to have rigorous, engaging, and positive educational experiences before the




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        pandemic. There is a real risk that school closures will deepen these existing inequities in our
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        education system (p. 1).
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In this technical report, the authors share findings from a content analysis of SEA remote learning
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guidance documents developed during the 2019-20 school closures. Our research design and data
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collection were guided by the following research question: To what extent and in what ways do SEA
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guidance documents on remote learning address issues of equity?
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Guidance from the SEAs about remote learning was developed and disseminated in the midst of a global
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pandemic that was (and continues to be) incredibly disruptive to all aspects of life, including schooling.
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This unprecedented situation has complicated research on remote learning (Tobin, 2020; Warner, 2020).
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Further, scholars have argued that the emergency remote learning, or “pandemic pedagogy,” that students
are experiencing is substantially different from well-planned remote or online learning that can take years
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to design (Millman, 2020). Given the extraordinary circumstances of continuing to provide education in a
pandemic, we do not want our research to be interpreted as a critical evaluation of states’ rapid responses
to the necessary move to remote learning. Rather, we see this as a potentially informative examination of
the ways in which states have attempted to address issues of inequity with their guidance to districts and
schools.


                                        Framework for Equity
To conduct the analysis, we developed a framework for equity by drawing out critical aspects of equitable
learning that have been identified in the literature on education in remote contexts. Specifically, we
conducted a search of the literature on remote learning and equity in peer-reviewed journals as well as a


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search of articles and recent blog posts on the websites of education research and policy organizations.
From this literature review, we developed a framework of equity with four broad dimensions:
 1. Access to technology. Students’ and families’ ability to access devices and the internet is critically
    important for equitable remote learning (Auxier & Anderson, 2020; Education Trust, 2020; Journell,
    2007; Malkus & Christensen, 2020). Research on broadband internet access has found that 15% of
    U.S. households with school-age children do not have broadband access; moreover, disparities exist
    in broadband use by race and ethnicity (Anderson & Perrin, 2018). State plans should address the
    digital divide by providing recommendations for improving access to learning resources and
    technology. In addition, state guidance should include recommendations for surveying technology
    needs.
 2. Home learning environments. The social resources in students’ home learning contexts are other
    critical components that can contribute to inequity (Cullinane & Montacute, 2020; Dreesen et al.,
    2020; Tinubu Ali & Herrera, 2020; Warschauer, 2020). States should help support home learning
    environments by emphasizing consistent, clear communication with students and families and
    recommending gathering feedback from caregivers on their remote learning experiences and needs.
    Furthermore, states should encourage schools and districts to include family members as co-
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    facilitators of learning.




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 3. Teacher and student readiness. As part of the adjustment to a very different context for teaching



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    and learning, schools and districts must attend to the professional needs of teachers and the
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    educational needs of diverse student populations (e.g., students with disabilities, English learners) to
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    create an equitable learning environment (Education Trust, 2020; Kirkland, 2020; Rice, 2018;
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    Selwyn, 2020; Tinubu Ali & Herrera, 2020). State guidance should encourage districts to provide
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    teachers with the requisite resources and professional learning opportunities in order to successfully
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    provide high-quality and equitable instruction for students. Moreover, students who require
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    specialized instruction and related services must be provided with the necessary support and
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 4. Programmatic offerings and policy. The state guidelines for programmatic offerings and policies
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    (e.g., instructional time each day, grading policies, and/or multiple delivery methods for instruction)
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    during remote learning are also highly relevant for issues of equity (Dreesen et al., 2020; Hedger,
    2020; United Nations, 2020). Such policies can impact students and families in various ways,
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    particularly those with limited access to technology and other resources.
The equity framework was used to conduct a content analysis of the SEA documents (see Appendix Table
A for the full framework).


                                          Methods and Data
To explore whether and how states were emphasizing equity in remote learning, we collected documents
containing remote learning guidance from each SEA and examined them. Data collection posed a
particular challenge for this project. Given that many SEAs have developed extensive web pages that
include resources and links related to all aspects of responding to the pandemic––including nutrition,
mental health, and family resources––it was necessary to clearly demarcate what data we would collect


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from each SEA site. For purposes of scoping and consistency in the data collection process, we used the
following criteria for selection:
    1. The document must be located on the SEA website.
    2. The document must have been developed to provide guidance and recommendations to districts
       and schools specifically about remote learning (other common terms were distance learning and
       instructional continuity plans).
    3. The document must have been developed specifically in response to school closures as a result of
       the COVID-19 pandemic.
Using these criteria, we searched each SEA website, located the appropriate document, and recorded the
date of collection, length of the document, and web address where the document was located. All
documents were collected during a seven-day period in June 2020. Example document titles included
“Distance Learning Guidance [Arizona],” “COVID-19 Guidance: Provision of Continuous Learning
[Iowa],” and “Remote Learning Resource Guide [Ohio].” We then conducted a content analysis using
NVivo software, in which the data were coded and categorized using a pre-figured coding framework
based on the equity framework described above. During the analysis, researchers met regularly to discuss
the coding process and revise the framework as needed.                               /3 Y
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The SEA documents on remote learning guidance varied substantially in length and detail, ranging from 3
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pages to 93 pages in length (average length was 23 pages). Given the variation in length of the
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documents, our analysis focused on aggregate findings across states. Most state documents included in
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the analysis addressed all four dimensions of equity (75%). As shown in Figure 1, there was some
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variation in the percentage of states addressing each of the four dimensions.
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Figure 1. Percentage of State Remote Learning Guidance Documents that Address the Four Dimensions
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Access to Technology
Given the important role of technology in remote teaching and learning contexts, we expected SEA
documents on remote learning to include guidance on ensuring that districts take the necessary steps to


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assess technology needs among schools, teachers, and students and, when necessary, address gaps in
access to technology. Most state documents did include guidance on technology (88%), and some states
provided specific recommendations for gathering information about technology needs (35%). For
example, the Mississippi Department of Education document included a series of guiding questions for
districts to consider when assessing device and network connectivity issues. These questions included the
following:
     ● What laptops/tablets and how many do you need for your students and teachers? How stable are
         the laptops/tablets you currently have? Do you have a laptop/tablet refresh plan?
     ● Do you have the network equipment you need to support technology in the classroom? To
         support technology needs when students and teachers are working from home?
     ● Do you know whether each of your students has internet access at home? How many do not have
         access? How many hotspots would you need to connect all students to the internet?

Home Learning Environments
About 80% of states addressed home learning environments in their remote learning documents (the
lowest percentage among the four dimensions of equity in our analysis), which means that one in five
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SEA documents did not directly address this aspect of equitable remote learning in their guidance. An
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even lower percentage of states included specific guidance on how schools and districts should
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communicate remote learning expectations to students and parents (65%). Those SEAs that did address




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this aspect of home learning environments encouraged districts to consider accessibility and consistency
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in developing communication plans. The Arizona Department of Education, for example, provided
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specific steps that schools and districts can take to ensure consistent, accessible communication with
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families to foster equitable home learning environments:
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     ● Connect with each of your students and their families every week via video chat, Zoom, or phone
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     ● Provide families with a point person to reach out to if they have questions about the distance
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         learning process, or for the latest district information and its impact on schools.
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     ● Create a plan for ongoing guidance for families. Even though it may make sense during the first
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         day and first conversation, families will still need support to continue learning and recognizing
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         success.
     ● Provide essential communications in languages representative of student and family populations.
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Teacher and Student Readiness
Recommendations for diverse learners
A key aspect for addressing equity in remote learning contexts is attending to the needs of diverse
learners, including students with disabilities, English learners, and children and youth experiencing
homelessness. We found that 85% of the state documents addressed meeting the needs of diverse learners
(in a few cases, the remote learning document referenced another document with details about serving
diverse learners). A small percentage (12%) of SEA documents contained only high-level general
statements about addressing remote learning for diverse learners, with no specific guidelines for students
with disabilities or English learners, for example. The Delaware Department of Education document
provided an example of such a general statement: “For students who are at higher risk of learning loss,
such as students with disabilities or English learners, we recommend that educators provide additional
opportunities for connection.” Many states, however, not only included language about addressing the

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needs of diverse learners in remote learning contexts but also provided specific guidance on meeting the
needs of students with disabilities (66%) and English learners (55%). The New Mexico Public Education
Department remote learning document is an exemplar of more comprehensive guidance for English
learners by providing a list of supports (see Table 1).

Table 1. EL Support Guidance from New Mexico’s Remote Learning Document


 EL Supports

     ●    Provide essential communications in languages representative of student and family
          populations.
     ●    Reach out to families to discuss important facts and school structures for the remainder of the
          year including the continuous learning plan, how to get breakfast/lunch, and what community
          groups/contacts/supports are available for the families.
     ●    Designate a point person for each EL family to access over-the-phone interpreting and/or
          specific personnel within the district who can provide interpretation services.
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          Recognize that resources may need to be adjusted according to different grade levels and
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          language levels.




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     ●    Provide options and multiple ways for students to demonstrate knowledge/skills.




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     ●    Include technology and non-technology options.
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     ●    Coordinate distribution of hard copies and/or online work.
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     ●    Collaborate with general education staff to maximize efficiency.
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     ●    Offer “office hours” via phone and/or computer for scheduled check-ins with students.
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     ●    Give suggested timelines that allow for students to work at their own paces.
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          Create or share screen video tutorials about how to use resources for students.
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     ●    Share resources on how to use translation features in commonly used applications.
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     ●    Provide strategies that support academic language needs.
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     ●    Use structured or sheltered English practices and highlight opportunities for students to engage
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          in conversation virtually.
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Note: Adapted from Implementation Guide for Your Continuous Learning Plan from New Mexico Public Education
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Only six of the state documents specifically addressed homeless youth. The Hawaii Department of
Education’s remote learning document serves as an exemplar for addressing homeless youth. A section of
the document titled “Continuity of Support for Students in Unstable Housing” outlines how community
liaisons will maintain communication with and provide support for families and students in unstable
housing during remote learning. With housing insecurity likely to grow across the country as a result of
the economic impact of the pandemic, this is an area where states can do more to focus attention on this
issue and guide districts in developing responses.

Recommendations for teachers
The guidance documents included a range of recommendations about ensuring teacher preparedness for
remote learning. Some states (62%) provided specific suggestions for remote instruction (e.g., altering the

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scope and sequence of what is taught, focusing on culturally responsive pedagogy, and fostering authentic
learning experiences). The Missouri Department of Elementary and Secondary Education document was
one that provided guidance on fostering authentic remote learning experiences for students (see Table 2).

Table 2. Guidance on Authentic Learning in Home Settings from Missouri


 Learning should look less like...                       Learning should look more like...

 Assignments to “get through” content                    Authentic learning in the home setting
     ● Emphasizing memorizing content or                    ● Connecting questions and problems to
        “checking off” tasks on lists                            household activities such as cooking,
     ● Asking students to solve contrived or                     fixing things or gardening
        hypothetical problems or complete design            ● Asking students to identify relevant
        projects that value form over function                   problems in their lives and engage in
     ● Trying to cover content through a volume                  design cycles to address them
        of activities or skipping from topic to             ● Allowing students to deeply explore
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        topic                                                    phenomena or problems of interest
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Note: Adapted from Supporting Educators and Learning in the Era of COVID-19 from the Missouri Department of
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State guidance also called on districts to provide professional development, with ongoing support, on
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remote instruction and the use of technology (73% of SEA documents).
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Programmatic Offerings and Policies
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All SEA documents in the analysis included recommendations for programmatic offerings and policies.
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These typically included guidance on grading policies and recommendations regarding the length of the
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remote learning school day.
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Local control with state-level influence
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About 45% of the state remote learning documents recognized that local districts had the last word in
determining how to organize and implement remote learning. Many of these states acknowledged the
potential tension between the need for local adaptation while simultaneously ensuring consistency
statewide. That is, noting that each community has unique needs and populations of students but that it
was also necessary for the state to have a consistent response in order to maintain expectations across the
state. The Idaho State Board of Education, for example, addressed this issue, stating:
        This guidance will allow local districts and charter schools to respond to their unique populations
        and community needs, while still assuring for the continuity of services and learning to our Idaho
        students. Our local school district and charter school leaders will need to be prepared to make
        decisions and set priorities based on their current situation in their respective communities, and
        they must be able to do so within a common framework. This will help to establish stability and
        common expectations for our school districts and charter schools across Idaho.

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One specific area where the state guidance on remote learning often deferred to local decision makers was
grading policies. Some state guidance documents offered a discrete set of options for districts to choose
from in determining grading policies. Other state documents provided examples of how districts around
the country were handling grading, criteria for promotion and retention, and other related policies but
emphasized flexibility and left the decision to local educators.


                                             Key Takeaways
In addition to our findings related to the four dimensions outlined above, our analysis of the state
documents revealed several broader takeaways that cut across the four dimensions.

Emphasizing Less is More
A substantial portion of the guidance documents (38%) encouraged districts to adopt an approach to
remote learning that we characterized as less is more. In these documents, the SEAs emphasized that
districts should primarily review previously covered material or focus on teaching the requisite skills
necessary to advance to the next course level. The reasons given for this approach to remote learning were
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related to equity issues and included acknowledging that completing school assignments online at home
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takes longer than in-person at school, concerns about unequal access to technology and resources,




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recognition that students may have additional responsibilities at home and therefore should not be given
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busy work, and acknowledging that some teachers will struggle with implementing remote teaching
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during school closures. The guidance from the Michigan Department of Education, for example, included
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a statement about prioritizing essential standards and reducing the workload for students during remote
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        Knowing that it will be difficult to teach all the standards before the end of the year, districts
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        should prioritize which standards are most critical for students to learn during this time of closure
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        and narrow their focus to just those. District grade levels and/or departments should collaborate to
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        plan for the content that is to be covered. Every effort should be made to design learning that is
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        reasonable, accessible, and appropriate. It is not advisable to attempt to cover the same breadth or
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        depth of content at a distance. Standards-based instruction should be greatly narrowed in an effort
        to increase student understanding and to support the varied home lives of our students and their
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        caregivers.

Centering the Student
A major emphasis of many documents that we reviewed was the importance of student-centered remote
learning. Districts and schools were encouraged to be flexible and responsive to the differing
circumstances faced by students and their families (e.g., uneven access to resources and technology as
well as varying home, caretaking, and school/work responsibilities). As described in the Virginia
document, “Achieving equity in remote learning is more complex than simply providing equality in
access to learning resources and technology” (p. 13); equity requires a deeper level of consideration
regarding the impact of inequitable home learning environments on vulnerable student groups. Remote
learning guidance that centered the student also emphasized providing students with choices in their



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learning (e.g., options for assignments and assessments) and tapping into resources available in students’
home learning environments.

Explicit Focus on Equity
We noted a difference between attending to the four dimensions of equity in our framework and explicitly
addressing issues of equity. That is, some SEA documents addressed dimensions of the equity framework
without using explicit language about the importance of equity. We found that 25% of the remote learning
documents did not include specific language about equity (this lack of explicitly addressing equity was
not simply a function of document length––the average length of the documents that did not include
equity was over 13 pages). Several SEA documents stood out as exemplars for explicitly focusing on
equity as a critically important element of remote learning guidance. Alaska’s remote learning guidance,
for example, emphasized equity by including a section on what culturally responsive teaching looks like
during remote learning and including a chart describing what teachers, leaders, families, and students
need to know and do to create a culturally responsive teaching environment (see Appendix Table B). As
another example, the Oregon Department of Education’s (ODE) remote learning document begins with
guiding principles that emphasize the importance of equity:                          /3 Y
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        We must heighten our attention to particular groups of students who often bear the burden of the
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        system’s oppressive practices. We must see the strengths and meet the needs of students
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        experiencing homelessness, students of color, Alaska Native and American Indian students,
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        emerging bilingual students, students of migrant and farmworker families, students experiencing
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        disability, students in foster care, and students navigating poverty. There is a real risk that
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        students will experience further alienation and lack of access to learning, heightened by the out-
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        of-school context. This risk is magnified by the digital divide and the rapid increase of
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        unemployment in our communities. This lived reality requires resolve and focus as care,
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        connection, and continuity of learning guide our charge.
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Another example of a state that explicitly addressed equity in remote learning was Virginia. This plan
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included three pages of “Equity Considerations” toward the beginning of the document, which
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encouraged districts and schools to “keep equity at the forefront of [their] planning” (p. 12).
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                                                Discussion
Scholars have argued that states play a critical role in ensuring equity in schools and that SEAs must work
to create a system that has equity at the center (Zion, 2016). Given that many schools and districts will
need to continue to offer remote learning as either the primary approach to schooling or as part of a
hybrid model of education in the 2020-2021 school year, and possibly beyond, understanding how states
are supporting and communicating the importance of equity remains critically important. Our analysis of
state guidance documents examined state responses to the need to move rapidly to remote learning and
provided insights about equity that can guide future decision making by SEAs and policymakers across
the U.S. Additionally, the equity framework developed for this work has the potential to be productively
applied by equity advocates, SEAs, district leaders, and other education stakeholders to a broad array of
learning environments, including virtual schooling, postsecondary education, and other remote and
alternative modes of learning.

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As states grapple with remote learning options for the 2020-2021 school year and beyond, SEAs should
consider using an equity framework as a blueprint for developing comprehensive guidance on addressing
issues of equity. For example, we found that one in five SEA documents did not directly address home
learning environments in their guidance. By utilizing an equity framework, states can ensure that their
guidance is comprehensive in addressing the major equity considerations for remote learning.


                                             Future Research
As the COVID-19 pandemic continues to disrupt schooling during the 2020-2021 school year, The
Learning Partnership plans to further study the impact of remote learning on students, educators, and
schools. Future work will investigate the interaction of remote learning policy and practice at the district
level in Illinois. Specifically, we plan to build off of this work on SEA policies for remote learning by
using the guidance from the Illinois State Board of Education as context for an examination of the
implementation of remote learning in Chicago Public Schools.
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This research was funded in part by National Science Foundation grant CNS-2034145. Any opinions,
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findings, and conclusions or recommendations expressed in this material are those of the authors and do
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not necessarily reflect the views of NSF. The authors would like to thank Claire Cronin and Cat McGee
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of The Learning Partnership for their assistance with data collection and Steven McGee of The Learning
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Partnership for suggestions on this report.
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                                                 Appendix

Table A. Dimensions of Equity in Remote Learning


 Dimension                           Subdimensions                               Example

 1. Access to technology             Recommendations for gathering               Surveying families about
                                     information about technology or             tech needs
                                     connectivity issues

                                     Recommendations for addressing              Providing multiple delivery
                                     technology and/or connectivity              methods
                                     issues

 2. Home learning environments       Recommendations for how schools             Providing resources in
                                     should communicate expectations to          multiple languages
                                     caregivers and students
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                                     Recommendations on school-home              Providing training/resources
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 3. Teacher and student readiness    Recommendations on professional             Creating structures for
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                                     development and support for     ith op      general education teachers to
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                                     Recommendations on pedagogy for             Fostering authentic learning
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                                     Recommendations for diverse                 Supporting English learners
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                                     Recommendations on supports for             Setting up a remote learning
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                                     students                                    space
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 4. Programmatic offerings and       Recommendations for length of               Maximum or minimum
 policy                              school day                                  instructional hours per day
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                                     Recommendations on grading                  Implementing credit/no
                                     policies                                    credit policies

                                     Recommendations about                       Creating interactive, web-
                                     engagement and attendance                   based lessons

                                     Recommendations on directed                 Engaging in cross-curricular
                                     instruction                                 instruction




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Table B. Culturally Responsive Teaching Chart from Alaska’s Remote Learning Document


              Need to Know:                                                 Should Be:

Teachers      ●   How race, ability, class, language, gender, and other     ●   Getting to know students and families,
                  systems of identity influence learning, access to             what they need and want, what they
                  learning                                                      possess and can contribute to continued
              ●   How to ensure full participation from all students            learning experiences
              ●   How to prioritize and address the questions/doubts        ●   Using empathy interviews and Zoom-
                  raised during a lesson
                                                                                based focus groups for participatory
              ●   How to set a structure around continuous
                  assessment and progress monitoring                            planning and curriculum building
              ●   Lesson planning effectively with others (partnering       ●   Learning to teach students at a distance
                  with students, parents, and other educators)                  and be patient because these are
              ●   Different students have different learning pace and           challenging times for all involved
                  requirements                                              ●   Reaching out one-to-one to families to
              ●   Building student morale is very important                     build the relationships that are
              ●   How to use multiple online and social media                   necessary to weather challenges
                  platforms so they can be flexible with which ones         ●   Connecting with students through
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                  work best for their students




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                  How to communicate with and build meaningful




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                  relationships with families from different racial,




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                  cultural, linguistic, ability, and class backgrounds
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                  (Teachers need to pick up the phone and call parents      ●   Identifying their own biases and
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                  and students; however, they rarely feel comfortable           assumptions when it comes to remote
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                  talking one-on-one and tend to lack the relationships
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                  necessary to get a clear picture of what families
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              ●   How to integrate arts, culture, and creativity in their
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                                                                                knowing that they are not alone, while
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                  Techniques for student-centered, independent
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                  learning                                                      also logging questions, best practices,
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              ●   How to adjust remote lessons plans to meet the                and other insights that come up in the
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                                                                                process of remote teaching (i.e.,
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                  different needs of students
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                                                                                reflective practice)

Families      ●   Changing dynamics require the creation of space for       ●   Keeping in mind that this time is just as
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                  students to be actively involved in remote                    stressful for the child(ren) as it is for
                  classrooms                                                    the adults
              ●   How to talk to students about their concerns and          ●   Building community in their apartment
                  doubts and help them navigate through the change              buildings, homes, classes,
                  including technology set-up                                   neighborhood, constituencies, etc. to
              ●   How to involve themselves in some sort of physical            provide mutual learning and support
                  activity with students such as yoga, painting, etc.
              ●   How to spend more time with students (they might
                  have a lot to talk about)
              ●   How to access free technology, free internet, and
                  free tech support when things break down
              ●   How to navigate multiple online learning platforms




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            ●   How to access other crisis supports such as food
                pantries, rent/mortgage/utility assistance,
                unemployment, etc.
            ●   Ways to support children emotionally during times
                of crisis
            ●   That they are positioned to shape their child’s
                education (i.e., stay on top of school, remain
                informed, make demands in service of your
                child(ren)’s education, etc.)

Leaders     ●   That race, socioeconomic status, ability, language,    ●   Doing their very best to mitigate the
                and other social forces exacerbate inequities in           possibility for COVID-19 to proliferate
                terms of access to resources, opportunities, power,        (particularly when working with
                culturally responsive instruction, and education           vulnerable communities)
            ●   How to even the playing field using targeted           ●   Making sure the basic needs of all
                universal solutions that more heavily support              students and families continue to be
                students who require it (Hold high expectation, but        met (e.g. providing bagged meals, as
                also hold the ladder)                                      students are learning)
            ●   How to provide resources necessary to ensure           ●   Identifying their own biases and
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                access to and promote teacher competence around
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                between students and the teachers
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            ●   How to ensure that community/parents needs are   ith op
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            ●   All the students and teachers have access to the
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            ●    How to focus more on continuous assessment, as
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                this will enable educators to easily identify students
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                who are struggling with the shift
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            ●   How to regularly check-in with the staff members
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            ●   All of the things under “what should teachers
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                know,” and how to support teachers in doing those
                things
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                Effective outreach methods to families and students
                outside of the standard robocalls and emails—parent
                networks, community organizations, social media,
                community leaders, religious institutions, grocery
                stores, etc.
            ●   How to help students and families access free
                computers, internet and tech support
            ●   How to help students and families access mental
                and emotional support: online therapy, meditation,
                relaxation, arts, recreation, etc.
            ●   How to help families access crisis supports such as
                food pantries, rent/mortgage/utility assistance,
                unemployment, etc.




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               ●   Knowledge and relationships in the school
                   community so they can amplify and leverage
                   resources and supports

Students       ●   That the adults in their lives will protect them from   ●   Learning in ways that are unbiased and
                   harm as best as we can (They need to feel safe and          builds on their social and cultural assets
                   supported)                                                  as digitally connected beings
               ●   How to access multiple online platforms                 ●   Engaged in meaningful experiences and
               ●   (For older students) Some of the same resources             conversations with peers and educators
                   above (mental and emotional support, free                   around culturally relevant academic
                   technology and internet, food pantries, etc.)               content and materials
               ●   Contact information for at least one trusted adult in   ●   Challenged in ways that match high
                   their school (or a partner community organization)          expectations and rigor with high quality
                   who can support them                                        instruction and learning support
               ●   That they are the greatest fund of knowledge during
                   these times of online connection; that building upon
                   their current ability to interact, communicate and
                   learn through web-based platforms is critical
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Note: Adapted from AK Learns Remotely from Alaska Department of Education and Early Development
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